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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

LUCILLE S. TAYLOR,
                                               Case No.: 1:19-cv-00670
        Plaintiff,
v
                                               HON. ROBERT J. JONKER
STATE BAR OF MICHIGAN, a public
Corporation; DENNIS M. BARNES, President
of the State Bar of Michigan Board of
Commissioners; ROBERT J.
BUCHANAN, President-Elect of the State Bar
of Michigan Board of Commissioners; DANA
M. WARNEZ, Vice President of the State
Bar of Michigan Board of Commissioners;
JAMES W. HEATH, Secretary of the State
Bar of Michigan Board of Commissioners;
DANIEL D. QUICK, Treasurer of the State
Bar of Michigan Board of Commissioners,

        Defendants.

Derk A. Wilcox (P66177)                      Andrea J. Bernard (P49209)
Patrick J. Wright (P54052)                   Charles R. Quigg (P82624)
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                      THE PARTIES’ JOINT MOTION / STIPULATION
                                      TO STAY
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        The Parties jointly request that this Court stay this case pending the U.S. Supreme

Court’s resolution of two pending petitions of certiorari presenting similar questions regarding

the constitutionality of integrated bars. “[T]he power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket with economy

of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248,

254 (1936). The Parties expect that the Supreme Court will resolve whether to grant the petitions

by late April, if not sooner. Because the Supreme Court’s decision to grant or deny the petitions

will inform the Parties’ briefing on summary judgment and this Court’s resolution of this case,

the Parties respectfully submit that a short stay would promote judicial economy and conserve

the Parties’ limited resources.

        The Parties stipulated to a briefing schedule in their Joint Status Report filed November

6, 2019 [Docket No. 8]. Following a Rule 16 Scheduling Conference [the minutes of which are

Docket No. 9], this Court issued the aforementioned First Case Management Order [Docket No.

11]. The First Case Management Order set briefing dates for cross-motions for summary

judgment according to the following calendar: Plaintiff’s Initial Brief, February 28, 2020;

Defendant’s Initial Brief, March 27, 2020; Plaintiff’s Reply Brief, April 24, 2020; and

Defendant’s Reply Brief, May 8, 2020.

        Cases presenting the questions regarding the constitutionality of integrated bars similar to

those in this case are currently before the Supreme Court. Specifically, Fleck v. Wetch, No. 19-

670, is before the Supreme Court on a petition for writ of certiorari. It has been distributed for

the conference of March 6, 2020. 1



1
 The Supreme Court docket for Fleck matter can be accessed here:
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-670.html


                                                      2
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         A second related matter, Jarchow v. State Bar of Wisconsin, No. 19-831, is also before

the Supreme Court on a petition for writ of certiorari. The response to the petition for certiorari is

due on March 4, 2020, and, based on the Supreme Court’s published case distribution schedule,

the Parties expect that the petition will be scheduled for consideration at conference in late

March or early April. 2

         The Parties therefore believe that there is a strong likelihood that the Supreme Court will

decide by the end of April 2020, if not sooner, whether it will hear and decide either Fleck or

Jarchow. In the event that the Supreme Court grants certiorari in either or both of these cases, the

Parties anticipate requesting that this Court stay this case pending a decision on the merits from

the Supreme Court. Conversely, if the Supreme Court declines to grant certiorari in Fleck and

Jarchow, the Supreme Court’s orders may nonetheless provide important guidance to the Parties

and this Court.

         Because the Supreme Court’s resolution of the petitions could affect the matter before

this Court, the Parties respectfully submit that a temporary stay of this case until the Supreme

Court resolves the pending petitions for certiorari would promote judicial economy and conserve

the Parties’ resources. The Parties propose to proceed as follows:

     •   In the event that the Supreme Court grants certiorari in either or both cases, the Parties

         shall file a joint status report within 14 days after the order granting the petition regarding

         whether the Court should further stay this case pending a decision from the Supreme

         Court on the merits.




2
 The Supreme Court docket for Jarchow can be accessed here:
https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/19-831.html


                                                      3
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    •   In the event that the Supreme Court denies certiorari in both cases, the Parties propose

        that the due dates for the Parties’ cross-motions for summary judgment be set as follows:

                      Description                                           Due Date

Plaintiff’s Initial Brief                                14 days after the last denial of certiorari

Defendants’ Initial Brief and Response to Plaintiff’s 28 days after the due date for Plaintiff’s
Motion                                                Initial Brief

Plaintiff’s Reply Brief and Response to Defendants’ 28 days after the due date for
Motion                                              Defendants’ Initial Brief and Response to
                                                    Plaintiff’s Motion

Defendants’ Reply Brief                                  14 days after the due date for Plaintiff’s
                                                         Reply Brief and Response to Defendants’
                                                         Motion


Dated: February 25, 2020                              Dated: February 25, 2020

/s/ Derk A. Wilcox                                  /s/ Andrea J. Bernard
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Patrick J. Wright (P54052)                          Charles R. Quigg (P82624)
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